       Case 8-18-75096-las              Doc 25     Filed 11/26/18    Entered 11/26/18 18:35:20




Rosen, Kantrow & Dillon, PLLC
Attorneys for Allan B. Mendelsohn, Trustee
38 New Street
Huntington, New York 11743
631 423 8527
Fred S. Kantrow
Nico G. Pizzo
UNITED STATES BANKRUPTCY COURT                                      RETURN DATE: 1/8/19
EASTERN DISTRICT OF NEW YORK                                        TIME: 10:00 a.m.
----------------------------------------------------------x
In re:
                                                                    Case No.: 18-75096-las
DONALD E. REIHER, and
ROSE E. REIHER,                                                     Chapter 7
                                             Debtors.
----------------------------------------------------------x
                        NOTICE OF APPLICATION FOR RETENTION OF
                     BK GLOBAL AS BROKER FOR CHAPTER 7 TRUSTEE

         PLEASE TAKE NOTICE that Allan B. Mendelsohn, the chapter 7 trustee herein (the

“Trustee”), by and through his counsel, Rosen, Kantrow & Dillon, PLLC, shall move before the

Hon. Louis A. Scarcella, United States Bankruptcy Judge, on JANUARY 8, 2019 at 10:00 a.m.

or as soon thereafter as counsel may be heard, for the entry of an Order, substantially in the form

of the proposed Order annexed hereto, authorizing the Trustee to retain broker, at the United

States Bankruptcy Court, 290 Federal Plaza, Central Islip, New York 11722 in Courtroom 970.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the application, must

be in writing and must be served upon the Trustee; his counsel, Rosen, Kantrow & Dillon,

PLLC, 38 New Street, Huntington, New York 11743 to the attention of Fred S. Kantrow, Esq.;

and the Office of the United States Trustee, 560 Federal Plaza, Central Islip, New York 11722 to

the attention of Alfred M. Dimino, Esq.; with a hard copy directed to the Court; and must

conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy

Court, as modified by any administrative orders entered in this case, and be filed with the

Bankruptcy Court electronically in accordance with the Administrative Orders of this Court, by

registered users of the Bankruptcy Court=s case filing system and, by all other parties in interest,
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on a 3.5 inch disk, preferably in Portable Document Format (PDF), WordPerfect, Microsoft

Word, DOS text (ASCII) or a scanned image of the filing, by not later than JANUARY 2, 2019.

       PLEASE TAKE FURTHER NOTICE that only timely objections made be considered

by the Court.

Dated: Huntington, New York
       November 26, 2018
                                           Rosen, Kantrow & Dillon, PLLC
                                           Counsel to the Trustee

                                    BY:    S/Fred S. Kantrow
                                           Fred S. Kantrow
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                                           Huntington, New York 11743
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                                           fkantrow@rkdlawfirm.com
